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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

JOSE DE ANDA and ELVIRA DE ANDA                      §
                                                     §
                                                     §
                                                     §
v.                                                   §
                                                     §
                                                     §
                                                     §           CASE NO. ______________
COVINGTON SPECIALTY INSURANCE                        §
                                                     §
COMPANY and BRIAN WILSON                             §
                                                     §
                                                     §
                                                     §


                            NOTICE OF REMOVAL
______________________________________________________________________________

         COMES NOW, Defendant, COVINGTON SPECIALTY INSURANCE COMPANY, and

files this Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441 and 1446.

                                        I.    BACKGROUND

         1.
         1.        On May 4, 2017, Plaintiffs Jose De Anda and Elvira De Anda filed this action in

the 92nd Judicial District Court of Hidalgo County, Texas, bearing cause no. C-2064-17-A (the

“State Court
"State Court Action")
             Action”) against
                      against Defendant and Brian Wilson. Plaintiffs'
                                                          Plaintiffs’ Original Petition (the

“Complaint”) filed
"Complaint")       on May 4, 2017, is the live pleading in this case. (A copy of the Complaint is
             filed on

attached hereto in accordance with 28 U.S.C. § 1664(a) as Exhibit C-1.)

         2.
         2.                                                        Complaint on
                                                       Plaintiff’s Complaint
                   Defendant Covington was served with Plaintiffs            on May 25, 2017.

Thus, this Notice of Removal of the case to the United States District Court is timely filed by

Defendants, it being filed not more than thirty (30) days after service of the Complaint on

Defendant, in accordance with 28 U.S.C. §§ 1441 and 1446. Defendant Brian Wilson has not

been served with the Complaint nor has he appeared in this lawsuit.

                   II.   BASIS FOR REMOVAL: DIVERSITY JURISDICTION

         3.
         3.        Removal of the state court action to this Court is proper pursuant to 28 U.S.C. §§




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1332 and 1441(a) and (b) because: (1) there is complete diversity between Plaintiffs and the

properly joined defendant, Covington, and (2) the amount in controversy exceeds $75,000,

exclusive of interest and costs.

A.        Complete diversity exists between Plaintiffs and the properly joined defendant,
          Covington.

            4.       Plaintiffs’ state court action may be removed to this Court because it arises under
                     Plaintiffs'

28 U.S.C. § 1332.

            5.
            5.       Plaintiffs are individuals residing in Mission, Texas and are citizens of the State

of Texas.

            6.
            6.       Defendant Covington is a foreign surplus lines insurance company incorporated in

New Hampshire and has its principal place of business in Atlanta, Georgia; therefore, Covington

is a citizen of New Hampshire and Georgia.

            7.       The only named defendant with any ties to Texas is the individual adjuster, Brian

Wilson, who has been improperly joined.

            8.
            8.       Thus, there is complete diversity of citizenship between Plaintiffs and the only

properly joined defendant, Covington.

B.        Wilson was improperly joined.

            i.L      Applicable standard for improper joinder.

            9.       The removing party bears the burden of showing that federal jurisdiction exists

                    proper.1 Under Section 1441(b), while complete diversity of citizenship
and that removal of proper.'

must exist between all plaintiffs and all defendants to establish federal subject matter

jurisdiction, only the citizenship of properly joined parties can establish federal subject matter




11
     Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002).


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jurisdiction.2 The
jurisdiction.2 The doctrine of improper
                   doctrine of improper joinder
                                        joinder "prevents
                                                “prevents defeat
                                                          defeat of
                                                                 of federal
                                                                    federal removal jurisdiction
                                                                            removal jurisdiction

                                                                        defendant.”3 Citizenship
premises on diversity jurisdiction by an improperly joined, non-diverse defendant."3 Citizenship

of an improperly joined defendant is disregarded entirely in determining whether complete

          exists.4 "Normally,
diversity exists.4  “Normally, aa court
                                  court reviewing
                                        reviewing allegations
                                                  allegations of fraudulent joinder
                                                              of fraudulent joinder should
                                                                                    should refrain
                                                                                           refrain

                                                                              procedure.”5
from conducting an evidentiary hearing by may utilize a summary judgment-like procedure."5

“A defendant
"A           may submit
   defendant may submit and
                        and the
                            the court
                                court may
                                      may consider
                                          consider affidavits
                                                   affidavits and
                                                              and deposition
                                                                  deposition transcripts
                                                                             transcripts in

support of
support of the
           the defendant's
               defendant’s removal petition.”6
                           removal petition."6

         10.
         10.       Improper joinder is established when the removing party meets the burden of

showing either (1) there was actual fraud in pleading the jurisdictional facts; or (2) the plaintiff is

                                                                                    law.7 In
unable to establish a cause of action against the non-diverse defendant under state law.7  In order

to establish the second ground for improper joinder, the removing party bears the burden of

proving that
proving that there
             there is
                   is "no
                      “no reasonable
                          reasonable basis
                                     basis for the district
                                           for the district court
                                                            court to
                                                                  to predict
                                                                     predict that
                                                                             that the plaintiff might

                                       defendant.”8 "This
be able to recover against an in-state defendant."8 “This possibility
                                                          possibility [of
                                                                      [of recovery],
                                                                          recovery], however,
                                                                                     however, must
                                                                                              must

be reasonable,
be reasonable, not
               not merely theoretical.”9 "[W]hether
                   merely theoretical."9 “[W]hether the
                                                    the plaintiff
                                                        plaintiff has
                                                                  has stated
                                                                      stated aa valid
                                                                                valid state
                                                                                      state law cause
                                                                                            law cause

                                   to the
of action depends upon and is tied to the factual
                                          factual fit between the
                                                  fit between the plaintiffs'
                                                                  plaintiffs’ allegations
                                                                              allegations and
                                                                                          and the
                                                                                              the

pleaded theory
pleaded theory of recovery.”10
               of recovery."10

         11.
         11.       The Fifth Circuit Court of Appeals recently held that federal courts should use the

federal court pleading standard when conducting the Rule 12(b)(6)-type analysis of an improper


2
2 See 28 U.S.C. § 1441(b); Smallwood v. Illinois Cent. R. Co., 385 F.3d 568, 572 (5th Cir. 204).
3
3 Borden v. Allstate Ins. Co., 589 F.3d 168, 171 (5th Cir. 2009).
4
4 Smallwood, 385 F.3d at 572.
5
5 Delgado v. Shell Oil Co., 231 F.3d 165, 179 (5th Cir. 2000) (citing Burchett v. Cargill, 48 F.3d 173, 176 (5th Cir.
1995)).
6
6 TAT
  TAJ Property, LLC v. GAB Robins North America, Inc., 2011 WL 2162321, at *2 (S.D. Tex. 2011) (citing
Carriere v. Sears, Roebuck & Co., 893 F.2d 98, 100 (5th Cir. 1990)).
7
7 Smallwood, 385 F.3d at 572; Canto v. Wachovia Mortg., FSB, 641 F. Supp.2d 602, 606 (N.D. Tex. 2009).
8
8 Smallwood, 385 F.3d at 572.
9
9 Great Plains Trust Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 312 (5th Cir. 2002).
10
18 Griggs v. State Farm Lloyds, 181 F.3d 694, 701 (5th Cir. 199).




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                                                                                                11
joinder claim to determine if the plaintiff has stated a claim against a non-diverse defendant.
                                                                                     defendant."   A

plaintiff fails to state a claim upon which relief may be granted as required under Federal Rule

                                             factual allegations
                                 plaintiff’s factual
Civil Procedure 12(b)(6) where a plaintiff's         allegations do
                                                                 do not
                                                                    not show
                                                                        show aa right
                                                                                right to
                                                                                      to relief
                                                                                         relief that
                                                                                                that

                            speculation.12 "[A]
is plausible and above mere speculation.12  “[A] complaint
                                                 complaint must
                                                           must contain
                                                                contain sufficient
                                                                        sufficient factual matter,
                                                                                   factual matter,
                                                                              13
accepted as
accepted as true,
            true, to
                  to state
                     state aa claim to relief
                              claim to        that is
                                       relief that is plausible
                                                      plausible on
                                                                on its
                                                                   its face.”
                                                                       face."13   “A claim
                                                                                 "A        has facial
                                                                                     claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that
inference that the
               the defendant
                   defendant is
                             is liable
                                liable for the misconduct
                                       for the            alleged.”14 "The
                                               misconduct alleged."14  “The plausibility
                                                                            plausibility standard
                                                                                         standard .. ..

                                                          has acted
. asks for more than a sheer possibility that a defendant has       unlawfully.”15
                                                              acted unlawfully."15

         12.       To avoid a dismissal for failure to state a claim, a plaintiff must plead specific

                           allegations.16 The
facts, not mere conclusory allegations.16  The "[fJactual
                                               “[f]actual allegations
                                                          allegations must
                                                                      must be
                                                                           be enough to raise
                                                                              enough to raise aa

                                      level.”17 The
right to relief above the speculative level."17  The Court must not accept as true conclusory

                                         fact.18 The
allegations or unwarranted deductions of fact.18  The United States Supreme Court has made

clear that
clear that aa plaintiff
              plaintiff is
                        is obliged
                           obliged to
                                   to produce
                                      produce "more
                                              “more than
                                                    than labels
                                                         labels and
                                                                and conclusions,
                                                                    conclusions, and
                                                                                 and aa formulaic
                                                                                        formulaic

                                                         do.”19 "Threadbare
recitation of the elements of a cause of action will not do."19  “Threadbare recitals of the
                                                                             recitals of the

elements of
elements of aa cause
               cause of
                     of action,
                        action, supported
                                supported by
                                          by mere
                                             mere conclusory
                                                  conclusory statements
                                                             statements do
                                                                        do not
                                                                           not suffice,"
                                                                               suffice,” and
                                                                                         and

something more
something more than
               than "unadorned
                    “unadorned ‘the-defendant-unlawfully-harmed-me accusation’ is
                               `the-defendant-unlawfully-harmed-me accusation' is

needed.”20
needed."2°




11
   Int’l Energy
11 Int'l Energy Ventures  Management, LLC
                 Ventures Management,   LLC v.
                                            v. United Energy Group,
                                               United Energy        Limited, 818 F.3d 193, 200 (5th Cir. 2016); see
                                                             Group, Limited,
also Buettner v. USA Gymnastics, No. 4:16-CV-0157-A, 2016 SL 2918107, at *2 (N.D. Tex. May 18, 2016).
12
12 Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009).
13
   Id.
13 1d.
14
14 Id. at 678.
15
"  Id.
16
16 Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir. 2000) (citing Tuchman v. DSC
                                                                                    Tuchman v. DSC Commc’ns
                                                                                                    Commc'ns
Corp., 14 F.3d 1061, 1067 (5th Cir. 1997)).
17
17 Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).
18
18 Collins, 224 F.3d at 498.
19
   Twombly, 550 U.S. at 555 (emphasis added).
20
2° Iqbal, 556 U.S. at 667.



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            ii.     There is no reasonable basis for the Court to predict that Plaintiffs might be
                    able to recover against Wilson; therefore Wilson was improperly joined.

           13.
           13.      There is no reasonable basis to predict that Plaintiffs might be able to recover on

any of their claims against Wilson, the adjuster assigned to inspect the alleged damage to the

                          case.21
property at issue in this case.21

                    a.      Chapter 541 of the Texas Insurance Code.

           14.
           14.                                                      “Defendants” violated the following
                    In their Complaint, Plaintiffs allege that that "Defendants"

sections of the Texas Insurance Code: 541.060(a)(1); 541.060(a)(2)(a); 541.060(a)(3)-(4); and
               22
541.060(a)(7).
541.060(a)(7).22   Specifically, Plaintiffs allege that all Defendants (1) failed to promptly explain
                  Specifically,

the denial of the claim; (2) failed to conduct a reasonable investigation into the claim; and (3)

misrepresented the coverages of the policy at issue. However, Chapter 541 does not provide

liability for inadequate investigations by adjusters or adjusting companies.                           Rather, it

                                                                                          – nor has
provides liability for unfair settlement practices by insurers, which Wilson did not have —

                       – authority to do on behalf of Covington in this case.
it been alleged he had —

           15.
           15.      Section
                    Section 541.060(a)(3) provides that
                            541.060(a)(3) provides that it
                                                        it is an unfair
                                                           is an unfair settlement
                                                                        settlement practice
                                                                                   practice to
                                                                                            to "fail[]
                                                                                               “fail[] to
                                                                                                       to

promptly provide to a policyholder a reasonable explanation of the basis in the policy, in relation

to the
to the facts or applicable
       facts or applicable law,
                           law, for the insurer's
                                for the insurer’s denial
                                                  denial of
                                                         of aa claim
                                                               claim or
                                                                     or offer
                                                                        offer of
                                                                              of aa compromise
                                                                                    compromise

settlement of
settlement       claim[.]”23 The
           of aa claim[.]"23 The Court in Mainali Corp. v. Covington Specialty Ins. Co. held that

“an adjuster
"an adjuster cannot
             cannot be
                    be held
                       held liable
                            liable under
                                   under §
                                         § 541.060(a)(3) because an
                                           541.060(a)(3) because an adjuster
                                                                    adjuster has
                                                                             has no
                                                                                 no obligation
                                                                                    obligation to
                                                                                               to

provide to
provide to aa policyholder
              policyholder aa reasonable explanation of
                              reasonable explanation of the
                                                        the basis
                                                            basis in the policy
                                                                  in the policy for the insurer’s
                                                                                for the insurer's

denial of a claim, or offer of aa compromise
                                  compromise or
                                             or settlement
                                                settlement of    claim.”24 For
                                                           of aa claim."24 For these same reasons,

the Court in this case should determine that Plaintiffs failed to state a claim against Wilson under

21
21   See Complaint at ¶ 4.3.
22
22   Id. at pgs. 12-13.
     1d.
23
23   Tex. Ins. Code § 541(a)(3).
24
24   Mainali Corp. v. Covington Specialty Ins. Co, 2015 WL 5098047, at *4 (N.D. Tex. Aug. 31, 2015).


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Section 541.060(a)(3). Wilson, as the adjuster, also had no obligation to provide Plaintiffs with a

reasonable explanation
reasonable             of the
           explanation of the basis
                              basis in
                                    in the
                                       the policy
                                           policy for
                                                  for the
                                                      the insurer’s
                                                          insurer's determining regarding the
                                                                    determining regarding the

claim, and neither did Wilson have authority to offer a compromise or settlement of the claim.

         16.
         16.       Section
                   Section 541.060(a)(7) prohibits "refusing
                           541.060(a)(7) prohibits “refusing to
                                                             to pay
                                                                pay a claim without conducting a

reasonable investigation
reasonable               with respect
           investigation with respect to
                                      to the claim.”25 The
                                         the claim."25                           held "the
                                                        The court in Messersmith held “the bad
                                                                                           bad

behavior that
behavior that the
              the statute
                  statute targets
                          targets is an insurer's
                                  is an insurer’s refusal to pay
                                                  refusal to pay under
                                                                 under certain circumstances.” 26 The
                                                                       certain circumstances."26  The

court further
court         held that
      further held that "[t]hose
                        “[t]hose who can be held liable are the insurance company or the

individual at the insurance company who refuses to pay the claim, not the individual responsible

for conducting
for conducting the investigation.”27 Here,
               the investigation."27                                                    is "the
                                     Here, Plaintiffs have not and cannot allege Wilson is “the

insurance company"
insurance company” or
                   or an
                      an "individual
                         “individual at
                                     at the
                                        the insurance
                                            insurance company"
                                                      company” such
                                                               such that
                                                                    that he would be
                                                                         he would be liable
                                                                                     liable

under Section 541.060(a)(7).

         17.
         17.       Several
                   Several federal courts have
                           federal courts have held,
                                               held, "even
                                                     “even though
                                                           though an
                                                                  an adjuster
                                                                     adjuster is
                                                                              is aa ‘person’ under the
                                                                                    'person' under the

Insurance Code, an adjuster cannot be held liable for violations of the Code unless he causes an

injury distinguishable
injury distinguishable from the insurer's
                       from the           actions.”28 "In
                                insurer’s actions."28  “In other
                                                           other words,
                                                                 words, the adjuster must have

committed some act prohibited by the statute, not just be connected to an insurance
                               29
company’s denial
company's denial of
                 of coverage.”
                    coverage."29   Further, "post
                                  Further,  “post loss statements regarding coverage are not

                                       Code.”30 Just
misrepresentations under the Insurance Code."3°                              Wilson’s alleged
                                                 Just as in the cited cases, Wilson's

            – and as plead —
actions are —              – indistinguishable from Covington alleged actions concerning the

investigation into Plaintiffs'
                   Plaintiffs’ insurance claim asserted against Landmark. For these reasons, and


25
25 Tex. Ins. Code § 541.060(a)(7).
26
26 Messersmith, 10 F.Supp.3d at 725.
27
27 /d.
   Id.
28
28 Aguilar v. State Farm Lloyds, No, 4:15-CV-565-A, 2014 WL 5714654, at *3 (N.D. Tex. Sept. 28, 2015) (citing
Nasti v. State Farm Lloyds, No, 4:13-CV-1413, 2014 WL 710458, at *3 (S.D. Tex. 2014) and Novelli v. Allstate Tex.
Lloyd’s, 2012 WL 949675, at *4-5 (S.D. Tex. 2012)).
Lloyd's,
29
29 Id. (citing Messersmith, 10F.Supp.3d at 724) (emphasis added).
30
30 Id. (citing Tex. Mut. Ins. Co. v. Ruttinger, 381 S.W.3d 430, 445-56 (Tex. 2012); One Way investments, Inc. v.
Centry Surety Co., 2014 WL 6991277, at *4-5 (N.D. Tex. Dec. 11, 2014)) (emphasis added).


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the reasons detailed below, Wilson was improperly joined.

C.         Amount in Controversy Exceeds $75,000.

           19.
           19.                                                         $100,00031 Because
                    Plaintiffs seeks monetary relief in an amount over $100,00031 Because the face of

the Complaint establishes that Plaintiff seeks damages in excess of $75,000, excluding interest

and costs, the amount in controversy requirement for removal set forth in 28 U.S.C. §

1446(c)(2)(A)-(B) is satisfied.

                                    III. CONSENT TO REMOVAL

           20.      All defendants join in or consent to the removal of this case to federal court. 28

U.S.C. § 1446(b)(2)(A). Consent of Defendant Wilson is not required because he has not been

                                               Harper v.
served or properly joined to this lawsuit. See Harper v. Auto
                                                         Auto Alliance
                                                              Alliance Int'l,
                                                                       Int’l, Inc.,
                                                                              Inc., 392 F.3d 195,

201 (6th Cir. 2004).

                                               IV. VENUE

           21.      Venue for removal is proper in this district and division because this district

embraces the 92nd Judicial District Court of Hidalgo, Texas, the forum in which the removed

action was pending.

                                          V.   ATTACHMENTS

           22.      Covington has provided notice to Plaintiffs through delivery of a copy of this

                                                                    Plaintiffs’ counsel of record,
Notice and the state court Notice of Filing of Notice of Removal to Plaintiffs'

and has also provided notice to the Clerk of the Court for the 92nd Judicial District Court of

Hildalgo County Texas through the filing of this Notice and the Notice of Filing of Notice of

Removal into the record of the state court action.

           23.      Copies of all pleadings, process, order, requests for trial by jury, and other filings

in the state court action are attached to this Notice as required by 28 U.S.C. § 1446(a).
31
31   See Complaint at ¶ 98.


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         24.       The following documents are being filed with this Court as exhibits to this

Amended Notice of Removal:

         A.        Listing of all parties and counsel of record;

         B.        Civil cover sheet;

         C.        A copy of Plaintiffs'
                              Plaintiffs’ Original Petition (C-1); and a copy of the state court
                   docket sheet (C-2).

         WHEREFORE, Defendant, Covington Specialty Insurance Company, respectfully prays

that this cause be removed to this Court and this Court accept jurisdiction of this action.

Defendants further pray that this Court place this action on its docket for further proceeds as

though it had originated in this Court and that this Court issue all necessary orders.

                                                Respectfully submitted,

                                                LEWIS BRISBOIS BISGAARD & SMITH LLP

                                                        / s // Joelle G. Nelson
                                                        /s
                                                JOELLE G. NELSON
                                                Texas Bar No. 24032501
                                                SHANNON L. SNIDER
                                                Texas Bar No. 24081157
                                                24 Greenway Plaza, Suite 1400
                                                Houston, Texas 77046
                                                (713) 659-6767 Telephone
                                                (713) 759-6830 Facsimile
                                                joelle.nelson@lewisbrisbois.com
                                                shannon.snider@lewisbrisbois.com
                                                ATTORNEYS FOR DEFENDANT,
                                                COVINGTON SPECIALTY INSURANCE
                                                COMPANY




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                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Notice of Removal was served in accordance with the
Federal Rules of Civil Procedure on this 8th day of June, 2017, on the following counsel of
record:

Martin Phipps
J. Gabriel Ortiz
PHIPPS LLP
      th
102 99th Street
San Antonio, Texas 78215
gortiz@phippsllp.com
drossi@phippsllp.com
Attorneys for Plaintiffs


                                                     /s/ Joelle G. Nelson
                                                     /s/
                                                     Joelle G. Nelson




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